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6
     NARCO MCFARLAND, SR

7
                         IN THE UNITED STATES DISTRICT COURT FOR THE
8
                                 EASTERN DISTRICT OF CALIFORNIA
9

10
     UNITED STATES OF AMERICA,                        )       No. 2:12-CR-00169 MCE
11
                                                      )
                                                      )       STIPULATION REGARDING
            Plaintiff,                                )       EXCLUDABLE TIME PERIODS UNDER
12
                                                      )       SPEEDY TRIAL ACT; FINDINGS AND
     v.                                               )       ORDER THEREON
13
                                                      )
14   NARCO MCFARLAND, SR                              )
                                                      )
                                                      )
15          Defendant.                                )
                                                      )
16
                                                      )
                                                      )
17

18
                                         STIPULATION
19          Plaintiff United States of America, by and through its counsel of record, and the
20
     defendant, by and through his counsel of record, hereby stipulate as follows:
21
            1.       By previous order, this matter was set for status on September 20, 2012.
22
            2.       By this stipulation, the defendant now moves to continue the status conference
23

24   until December 6, 2012, and to exclude time between September 20, 2012, and December 6,

25   2012, under Local Code T4. Plaintiff does not oppose this request.
26
            3.       The parties agree and stipulate, and request that the Court find the following:
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            a.       The government has represented that the discovery associated with this case
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                                                          1
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     includes approximately 1,952 pages of investigative reports and related documents in electronic
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2    form and many hours of recorded telephone calls. All of this discovery has been either produced

3    directly to counsel and/or made available for inspection and copying.
4
            b.       Counsel for the defendant desires additional time to consult with his client, to
5
     review the current charges, to conduct investigation and research related to the charges, to review
6

7
     and copy discovery for this matter, to discuss potential resolutions with his client, to prepare

8    pretrial motions, and to otherwise prepare for trial. Additionally, the Court ordered, at the
9    defense’s request, Probation to prepare a pre-plea probation report. The probation officer needs
10
     more time to prepare the report. The defense believes the report may be useful in potentially
11
     resolving the case.
12

13          c.       Counsel for the defendant believes that failure to grant the above-requested

14   continuance would deny him the reasonable time necessary for effective preparation, taking into
15
     account the exercise of due diligence.
16
            d.       The government does not object to the continuance.
17
            e.       Based on the above-stated findings, the ends of justice served by continuing the
18

19   case as requested outweigh the interest of the public and the defendant in a trial within the

20   original date prescribed by the Speedy Trial Act.
21
            f.       For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,
22
     et seq., within which trial must commence, the time period of September 20, 2012, to December
23

24
     6, 2012, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local

25   Code T4] because it results from a continuance granted by the Court at defendant’s request on
26   the basis of the Court's finding that the ends of justice served by taking such action outweigh the
27
     best interest of the public and the defendant in a speedy trial.
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                                                       2
                                     Case 2:12-cr-00169-TLN Document 112 Filed 09/26/12 Page 3 of 3


                                          4.     Nothing in this stipulation and order shall preclude a finding that other
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2    provisions of the Speedy Trial Act dictate that additional time periods are excludable from the

3    period within which a trial must commence.
4

5
     IT IS SO STIPULATED.
6

7
     Dated: September 18, 2012                                                       U.S. ATTORNEY

8                                                                             by:    /s/ David D. Fischer for
                                                                                     JASON HITT
9                                                                                    Assistant U.S. Attorney
10
                                                                                     Attorney for Plaintiff

11
     Dated: September 18, 2012                                                       /s/ David D. Fischer
12
                                                                                     DAVID D. FISCHER
13                                                                                   Attorney for Defendant
                                                                                     NARCO MCFARLAND SR.
14

15

16                                                                  ORDER
17

18

19                                  IT IS SO FOUND AND ORDERED. The status conference in this matter previously set
20   for September 20, 2012 is hereby continued to December 6, 2012 at 9:00 a.m. in Courtroom No.
21   7.
22
     Dated: September 25, 2012
23
                                                                   __________________________________
24                                                                 MORRISON C. ENGLAND, JR
                                                                   UNITED STATES DISTRICT JUDGE
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